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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

LEONARD DOUGLAS (#601998)
                                                          CIVIL ACTION NO.
VERSUS
                                                          18-128-JWD-EWD
CHRIS NAKAMOTO, ET AL.
                                          OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc. 6) dated May 12, 2020, to which no objection

was filed;

       IT IS ORDERED that all federal claims are DISMISSED, WITH PREJUDICE, as

legally frivolous and for failure to state a claim upon which relief may be granted pursuant to

28 U.S.C. §§ 1915(e) and 1915A.1

       IT IS FURTHER ORDERED that the Court declines the exercise of supplemental

jurisdiction over any potential state law claims.

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on October 19, 2020.

                                                S
                                       JUDGE JOHN W. deGRAVELLES
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA


1 Plaintiff is advised that 28 U.S.C. § 1915(g) provides that, “In no event
shall a prisoner bring a civil action or appeal a judgment in a civil action or
proceeding under this section [Proceedings in forma pauperis] if the prisoner
has, on 3 or more prior occasions, while incarcerated or detained in any
facility, brought an action or appeal in a court of the United States that was
dismissed on the grounds that it is frivolous, malicious, or fails to state a
claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.”
